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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JUSTIN FAHY,                       )
JENNENE STOICESCU,                 )
KIMBERLY ADAMS,                    )
and WILLIAM NORTHCUTT,             )                  Case No.: 1:23−cv−03590
on behalf of Plaintiffs and the class
                                   )
members described herein,          )                  Judge Matthew F. Kennelly
                                   )
                  Plaintiffs,      )
                                   )
           v.                      )
                                   )
MINTO DEVELOPMENT                  )
CORPORATION;                       )
BENHTI ECONOMIC                    )
DEVELOPMENT CORPORATION;           )
DOUGLAS WILLIAM ISAACSON;          )
MINTO FINANCIAL d/b/a Minto Money; )
and JOHN DOES 1-20,                )
                                   )
                  Defendants.      )

             JOINT INITIAL STATUS REPORT REGARDING DISCOVERY


       In accordance with this Court’s March 14, 2024 order, the parties submit the following
proposed discovery schedule:
           ● Deadline to Amend Pleadings or Add Parties: November 15, 2024
           ● Deadline to serve Rule 26a(1) Disclosures: April 19, 2024
           ● Plaintiffs’ Deadline to File Motion for Class Certification: January 17, 2025
           ● Fact Discovery Completion Date: March 28, 2025
           ● Deadline to Issue First Written Discovery: April 26, 2024
           ● Expert Discovery Completion Date: June 20, 2025
           ● Dispositive Motions Deadline: August 16, 2025
                                        Respectfully submitted,
 /s/ Tara L. Goodwin                               /s/ Sarah A. Zielinski (w/ consent)
 Daniel A. Edelman                                 Sarah A. Zielinski (IL 6294156)
 Tara L. Goodwin                                   Amy Starinieri Gilbert (IL 6317954)
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Counsel for Plaintiffs



                               CERTIFICATE OF SERVICE
       I, Tara L. Goodwin, certify that all counsel of record were served with this document by
operation of the Court’s electronic filing system on March 22, 2024.


                                                    /s/ Tara L. Goodwin
                                                    Tara L. Goodwin

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